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                    EXHIBIT 77
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                                                Type of                                                                       Effected
                  Contacti  Teva                                   Agreeme                                        Effective
Created   Name                         Status   Agreeme     Site               Gain   Product Territory   Other                 date
                  ng Party Company                                  nt date                                         Date
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14 Apr 14 CONTRA Waterford Cephalon,            Service   NorthAme 31 Mar 14                                      31 Mar 14
          CT-23-  Life     Inc.                           rica
          168336 Sciences (United
                 (United   States)
                 States);
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                        Automati                                                                                            Contact
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       Terminati RENEWA    c                      Parties Primary                      Flag     Flag    Business              in      Legal
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        on Date     L   Renewal                     Obligations                       Yellow   (Text)       Unit           Business contact
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       31 Mar 15               0            Edit, publish and distribute                                BUnit              Ryan     Alex
                                            the 2nd edition of Exit                                     NorthAme           Daufenba Nikas
                                            Wounds: A Survival Guide                                    rica               ch
                                            to Pain Management for                                      Marketing
                                            Returning Veterans & Their
                                            Families.
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          More                               Pharmac Pharmac                                           IP        IP      Change
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